Case 4:19-cv-00524-MW-MAF__ Document 36 Filed 06/01/20 Page 1 of 19
UNITED STATES DISTRECT courT

NoRTHERN DISTRICT OF FLORIDA PROVIDED TO TOMOKA

TALLAHASSEE Davisron

ERIC . BROOKS ON Sd :
K. 00
bein FOR MAILING BY.

Case Nor 4:14 ev O582Y - MW/MAE

 

VS:

OFFLCER DAMON MILLER,
Defendant; /

 

RESPONSE To ORDER(KCF No, 22.)

COMES NOW THE. PLAINTIFF Eric K. Brooks, ara se, and enters his

Rept fo Masten Martin Fihgeralds Orar(ECF op nso).
the Magistrate has requited Plainti TF fe justry each outstand ing discovery request with an
explancction why Plaintiff needs that discovery: bok sed iv his Oblection
intEF hereby renews his objections To +his process as stated in his Dees Ih
to Defendants heen to Stop Discovery ancl Matian for Review! of Meqictrate’s Order(No. 2) ’
and eneral hy objects to fhe burden ts Response, places on Plainti FF, these, objections to be,
prestved in the record for appel lote, USe ) . Le
Plaintiff has proffered hie specific needs and reasons therefore regarding Plait ffs.
Biecond Request For Production oF Documents as Appendix 4 of PlaintifFs Motion for Reviews of
Maqiatrates Order (Ne,22); Plainti PEAled that Motion with Ps Court on May 22,2020, He hereby
ae the tents of Appendix t of that Motion by reference, .
incor poranes PleintiFF hos aHached capies of all outstendin discove requests oy Appord i
A of this Response ‘noluding PlainfFs Second Request for Apoduction of Doctments, Plaintiffs
“Ge dtrjerro santarle < for! Defendant Damon Mi ler, Plainthitrs First Request for Admissions ,
con y v

Plaintifh hos attached all outstanding discovery objections as Appendix B including
Objections to Defendants First Production of Documénts and Plaintiffs Objections to Defendants
Ansviers fo Tnterreqotories Plaintiff provides these documents te demonstrate thot Hhey were
+imely-Filedte 5 rovide, this Court with the necessary roofs ty evaluate the Second, Interroqatories
below and 4° seek this Courts guidance and leave to file Motions +o Com rey ma the ou: in
discov issues prs ely ob ected to which Defend ant has failed +0 ac now Se eemend correc
or compl witht Fs une RAY whether the Order mn dis covery forbids +4

ERED

dations t¢ G e
Plainht notes thot Defendant has waived his cq ht ta ab ct #9 any and all the
bov Listed disco vests; the second round were oll Filed on April 21,2020, 3) days ago.
avers . ' biects to the er edited deadline of June 45,2020, which appears
Finally | Plo mtifF objce S , : yer yen re
fo be conditioned a Mabie Response: CECF Nbv22 p.5, lines 4-2) butis absolute, (Lov, po): The deod line
vents adequate. Ame for outstanding discovery request 12 be com pelleo| as itis abundauthy
Pear From Me ecard Het Dekendant hos no vat ntitn oF comply ing with Fed, R. Civ. P.—yet
another apparent reward for Defendants intransigence,

 
*

Case 4:19-cv-00524-MW-MAF Document 36 Filed 06/01/20 Page 2 of 19
L, Plambhtts Second, Tnterrog stories f for Defendant Damon Miller

. Defendant has previously sbi ected al though notin a lowful maymer

Peal. R. Civ, P—

fo the number of interrog atories asked.(See ECF No. 13 FNL) Plaimtit® submitted “ali: interrogatories;

the responses to 8 of them were, | hy insubficiend becouse they Were non- res ponsive, oat From
the we form, ot both, Further lalnh4F has objected to the non-standard Oath subscribed to
Defendants Answers, ond axkeol thot they be p rop erly sworn,

Defendant | has refused to respond +o “h attempts to resolve these issues and lanored

PlainiF£s properly Filed ob’ yections, Farther Plain FF has moved this Courtfor leave +0 submit

additional } heaps excess of 25 without receivin n ruling te dote,

FlaintcF® avers Hhath the original Aeswes, beln rly sworn area. legal nullity and
shoul not be counted ainst rho-latals oie ov in rin He alte ak ®) nie onl si of the ottaina| Anlwers

peng 4 egally sufficient point is entitled by rule to 14 whore, responses b Plain ME suqoes}ioe oestion
numbers 2 jand Ue throwal 2 includin subpar ts from Ple. int FFs Second be hor roa: ries 5 or Ah ,
rock the court has all ‘hed he sabvaission OF addshonal interro tories; that Fondant res lk ond ® pent

The following are te specific. questions PlaintFF see answecsts dA whe h .
oppasitian to ¢ Summ. judge + andl / trial: an why eneeds Hem

L, PlalstiFF seeks to estoblsh that Defendants previous statements are inconsistent with the
record j mutual con tdichoryy ound h sical yy ssible, iven the | Inout andl lines of

ura Pe areaoF Ase G I-76 ace? thath responses uilloap! ort Plaanh fs
st ootentian shat Defend dant Mi ‘ile could noPand elid not espa ih ding a black KTA,

f F x to @ tobi ish Defendents prtextue stor devised to4 ive him robobyle
3 Plot FF se Plain Defendant has cibaded +h is peat mn previous Jakes shay.

3. PlawhFF seeks 43 estoblish Defendlarcts parporhed reasoning to select himfarthe alleged

consensual encounter.”

4. Plain FF seeks Yo establish munerots fucks which contoedict Dekindants pretexha]
shry derived from his Praboble, Cause. ASFidevit, these Facks found in Deferrclanks
FPD Lanclolent Report and which some ‘centered | in thy record as PlaintF£s Exhibit A,

5, Plaintiff seeks to establish Defendan}s reasons for omitting a relevantfact
From all three state documents acnerated b Defendant in connettion wiih Floimti FR
arrest; this omission supports PldiwhFFy allegation oF a pretoxdual 3 co °

lack of probable: cause. IP J re ey Feeowe h
6. Plalntif® seeks to establish Defendants willful and Knowing falsification of the

Florida Uniform Trattic C He. tion as part of Defendants pretextas story used, to ns he
had probable cause te stop and arfest F{ alt tery thy FUT is entered as Plain

Exhibit B.
7 Plaintiff seeks te establish discoverable evidence of the legal identity of thu TPD

int FF;
afFicer who alle edly tested the substance Defendant allen eal Senzed From Plain
Paint seeks aa determine the existenctsaF thi test and why | Trwas rot produced by

Defendant during discovery: 2
Case 4:19-cv-00524-MW-MAF Document 36 Filed 06/01/20 Page 3 of 19

B. PlalnhiF¥ seeks to determine Offeer's “Wirghke “presence at the scene of tho arrest in
order te versfy or impeach Defendants version of events presented as Fact In Summo
ud enor PlalntiFF seeks to locate: dash-cam video of other documents From ‘Wirg hrvonce)
his ‘ident? ty and presence) are independently corroborated.

4. Defendant has allufed +o these. oFFicers in his Avs to He Complaint’ but has
Sai led ts P roduew aw evidencd theit presence should have qenere ated Plaintiff seeks to
establish the existence of this evidence, bncading dash-cam videos anol reports
even Hrowah Defend ort hos refused ty produce UNM Tn d tScovery when 1 vested !

10) Plaint seeks addtHonoA proc} of falsified entries in the three named doutmenty

derived From +hu imploysible timelines Herein as evidence oF He vfoxdua -

nature of Defendant Probable Conse) Aptidar¥ [Defends Exhibit A] which is dhe
vt

bast of D ¥ da Hs Moon for Summan Jud Men,
‘ o. | fi. ywhorn PlaantiFF has asked

inhff s ful Menby of John Doe wn) ae
eee set ee compbint For his rele in Fhe deprivation of Pint
constttuttonall and stotutoril f° ted right ort of his

/ 121 Data) job duties in suppo |
42. PloanbY+ seeks 40 establish Joh ety Defendants pede hal Proboble

amended comploanit 45 well as his

Cause ASSydov 1,

TL. Plaintiff's First Request for Admissions «sly oblectsons to Admission
~ n m OWler on lo ; ons?
PlainttfF avers thot she Defendant has Failed to ralse th 5 lel 4 dass before, Matton

cama

ogi \
has Failed to advise this court that phe Admissions werd rime The Admissions in its Order:

toe Tied Te mentton-
for Summary heen) “ — rN ook tow ‘he entiHedto lawhul es ponses thereto.
asserts: ~

loys . A
‘Therefore, Plain “wate vest the arden this court has imposed on his lawful discovery
stm |

Neves Paienel ye F the arrest site »

a ruanbieFsceks +o estab ‘ ot tt FUTC yrtend as Pala Me

ee eda
al Probable Corse by tro Jaci the penal ty he suffered

cervice +0 his prevex

44 PLaMpFF seeks +o establish thu basis ror daman os
From Defendants torHous acts ,
Case 4:19-cv-00524-MW-MAF Document 36 Filed 06/01/20 Page 4 of 19

TL. Plat wir Second Request Soc Production of Documents | |
As stated above eit hac Eurnished this information we Append! ixd: he hereby

incorporates iby re |

Conclusion bl

— er Limely-Liled and reasonable
WHERE FONE Cen moves this court to adlow his {7 vide) clartt hon and
be, resp unded to forthe jet Hhis cone rt ee oe to

discover . ons to Co
nee oe shel r nbn il ° ete coon wand discovery MEST}

Roun | discovery © vests and | of ms 1¢
and fond A court proselve Ph oy a sates Thee asom ent ideley 0

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A ts pr val ak tral;
evidence ta of oe cummnasy | “gm epthl I Suv pn }
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Wh ND, Local
fy Hat thy Response covkadn 1355 words In compl

hwace wl
T cer fy

Rule 7.4, fut
Eric ac x Plaine

 

Cerbfieate of Service
eee FY tha Lheve furnished a copy oF His Responsete Order Glo.22)
Fe ce Tallahassee )

ch Dr Monree, Atrorrey 300 S, Adams Sty Box A-S
Fatigaeh void h 6b. Mor ree) a for prepaid Fres¥eclass email on this
oct ) 4

i+4o prison mail | of Fictw
AR ¢ day oF May, 200»

 

  
   

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ohana Tornoka Woy

50 Tiger Bay Row

Dayton Beachy ru gatan-Lort
Case 4:19-cv-00524-MW-MAF Document 36 Filed 06/01/20 Page 5 of 19

APPENDLYS A

x Plainht) s Second Request For Production of Documents

t 3 mon Miller
MK PlaintihFs Second Laterrog atories For Dedendant Damon

* Ploawyhiers First Request For Advatss ions
_ Case 4:19-cv-00524-MW-MAF Document 36 Filed 06/01/20 Page 6 of 19

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CION. UOT

—~ Teena TT - ___ FORMAILING BY CAE.

 

 

 

 

 

_ Plait,

 

CASE No. 4; 19ev5a4- MW /MAF

gp

; “OFFICER. DAMON) MLE, _

 

Defendant. yp
7  PLArNEEFS. SEconD REQUEST. FOR So
—— PRObicTION OF DOCUMENTS _ ee

 

 

 

 

| Pursuant +0 Fed, R, Civ. P Rule 34, PlainhtF Erie K Brooke serves _ 5 : ; ; ;
; his Second Request For Production of Documents on Defendant Damen Milles

 

- 4. Florida Shatule6404 Arrests Arrests : , (version ineffeot on November 12 2016.)

 

_. / a Tallahessee f lice. Deparrhment “General. Order. 5 q (Transporting 4am nd Book} ng
A racedures )''- version iM 1 oF fect on November. 4a, 2016; oo —

ae ee a cece ee tt net oem

 

 

 

- 3, ( Tallahassee Pali ice Depueetmenh | ‘CEB- “42, Follow ? Tevet ing. - -
—_ eFlect on November 43. by 2 AOL.
4. Fall w wae badge, employee Flea specifically hireand diachanye dates if a

_ applicable), last rank “Hamed of "OFF jj cer Wiry Me") re referred to on Bale, 24, ,

 

 

o. Dasheav video artal audio oF ‘OFFicer Minh ‘at sconeok Mr. Brooks’ asrest
November £2. ADE

 

 

 

6) Dasheam video of MAVRICH {00711 iF n not previously inchded ji m.
_ Defendants First: Production oF Documents fees No. 6, a

 

 

 
8,

_ Case 4:19-cv-00524-MW-MAF Document 36 Filed 06/01/20 Page 7 of 19

7, Any and all reports Field notes inet dent reports Field test results anol

other paperwork generated by’ OFFicer Wirght Aweig hte scene oF Mr
Brooks’ ertest;

Audio recordin sof Tallahassee Police Department dispatcher and all radid
transmissfons including side channels ; 3/00 pm to 4:30 pe November 1, 2016.

Served by Este K. Brooks, plain ¥ dade April 27,2020

 

CERTILFECATE. OF SERVICE
L HEREaY CERTIFY thech L have provided acapyat his P loantiffs Second
‘flequest For Production oF Berauments te Defendant's Gunsel Hanneh D, Monroe , 300
&. Adams St Box A-S ; Talo hassee. ; Florida, SAzZah ) by Furnishing it to prison mail
| officials for piepeid First-class US mpil ches a7® day of April 2020 .

Kieu tthtirooS ) pleinbi F
#ABCQLSA Tee

31S Tiger Bay Rood

i Pexytone Reach )FLBaL ad

 
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UNITED STATES PISTRICT courT
NORTHERN DISTRICT OF FLORLDA ay
TAULAHASSEE. DIVISION PROVIDED +O TOMO

| clon nah
ERIC K, BROOKS , FOR MAILING BY OES
Ploiwh¥ ,

| CASE NO,:4! Lev 5a4- MW/MAP

V3.
OFFICER DAMON MILLER,
Defendant. /

PLAINTLFFS SECOND INTERROGATORLES
FoR, DEFENDANT DAMON MILVER

Pursuant to Fed. RCw.P. Rule 33 ) Plain FF setves the Following
‘supplemental interr ogactor ies developed From Defendants document producti on and

answers te infereoge: ories, All references fo numbered interrogifories refer to

Defendants Answers Ta Tuiterrogatories unless otherwise specified.

4, With respect ‘to your response'to Interreg atory No.3:
AL, When you stated thot you observed Brooks driving wBleawk KIA) where
specifi cally were you and your vehicle located?
Aad. Were you parked at the Hine of this observation”
BA, You then stated you “observed Mr. Brooks park infront of A516 Golf
Terrace. Atthetimeok this observation where were you and your vehicle located?
Ba Were you parked at thetime of the observation described in BL. above?
CL. You then stated you " ebserved Mr. Brooks exit the vehicle and begin walk:
towards pedestrians gathered inthe owe, " At the Hime of thatabservarion,
wherewere you and your vehicle lceted?

C2, Were you parked ot the tine of the cbservati on described inCLiab ove?

D. After which one oF the observations described in sw)-questionc At Hheaugh

cl did you begin driving to twatenso you could exit your vehicle?

 

 
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__ [With respect to Tnberrogatory Mo, 4: Given thet you heve already swornthat
__you observed Mr. Brooks driving the black RIA why then Aid you ask theg uestion

_ who was driving the vehicle?

 

 

 

| : select the all ned driver oF Ha black KIA for your pur ported “consensual encounter” - .
and how that encounter Fit into the "proactive pollcing “you mentvontd in your spas oo

| S.With respect te your sespanse to Tinterreyetary No.2, explain whakeasel you te

With respect to the Tallahassee falice Department Tnrcident ReporT, Bates. oe
_ PIAL IAG which yu wroter a :

je A.Explain why you were dispatched fo AS1GGolF Terrace on November Id,
 . _B. Explo.in why you characterized the ‘Premise Type as residential, under

__ ‘OF Fense One, when the charged offense of operating « motor vehicle without
; a valid license must be committed one. sublic. strech a ee
C1 Explain why you entered "Drug Activity” in the blankfor ‘Suspect Chat
-acterishics tather than physical ~dentiFiers when the (sted oFfense-wes oe
. traffic violtion. oe _ re

De Explain why you did notimpound the black KIA foramote thorugh =
search and possible confiscation iF you bel reved that it ss ted or ivoled In

__E. Where was the regis tered owner of the KIA atthe time you searched, ee

the vehicle? a ee . oe
FCF tho owner of Yhe black KTA was not presenbot 2516 Golf Terrace,
oo who gave you rermission to search thevehilo?
GS Who did you release thy black KTA to after you searched it?

 

 

 

Ss, Explain why you Failed to inckide the registered owners name of thy

owner oF the black KIA in the Florida, UP Troffic Citation Arrest(/
_ Fraboble: conse, AFFidavit, Tallahassee Police Department Lncidest Reports amy

narrative ab Suppwmary therein and your sworn responses te all ingulries ;

 

 

 

 

 

 

 
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6A. Did god ewer truatects in each and every applical le box on the Florida

Unifoow Teak Fic Citation, Bedes #.55 ; |
8. SF you did not enter teve facts into each and every egplical le box on the Florida

Uniform Traffic Citaton explain why you did not do Se,

z State the Full nave, bedsort employing as eney and current employment shuitus oF
“Ofe, Wirght “Gsie), whom you stated = the cocaine you alloredly took From Mr,
Brooks,

& How and oct what + ine did “Ofc Wight" &) become Invalved with your arvest of
Mr. Brooks?

4 Llontiy by nome jbeduert 5) rank agency and squad car- number any and a|
other officers preset at the scene of Mr, Brooks? arrest on Noveunber Lod,

10. Where when and act whost tines d id you nerate the Probable Comser A¥Fidevit
Tallahassee Polke Depertmest Trcident hort and Flotida Uniform Traffic. Cbs
concerning your arrest oF P loinhitt Erie K. Beaoks on November £9 , 2016?

44. Stute the Full name, badge,at, rank and employing agency and current empbyer
of the Corti DFFicet "he i skal and badge # et ype on the Arrest] Prob-
-able Cause Affidavit, Bates £53,

with res peck to the Arrest / Probable Cause AFFidevit described in erroqatony
No.4 abave.

42, Provide the Full duties and all legal obligations oF the Gortifyi Officer °

Provided by Eric X. Brooks, plambiFy date: April 27,2020

: CERTIFICATE oF SERVICE

= HEREBY CELTEFY tect WL provi ded ecepyoF PleinhYFs Second Drferayctories b Donde do
Defendants counsel, Homroh D. Mowree, 3005. Adaras St Box A-5, Tallahassee. jFeaaaod, by Furnishing it

do prison void AF Ficids (es prepead Firekelass US raid this 27 Bay oF April A9ao, Ni, &. Beet
Eric hsBroks, glint SALE TCI/S150 Tier Bay RA. Devtona Bench, FL SALA.

 

 
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UNETED STATES DESTRICT CourT

  

_ - / _ _™ “NORTHERN PISTRICT OF FLORIDA _ -pROVIDED 10 I
oe Oe __TALLABASSEE, DEVESION - CHOW —-4-1 [A

fe pen eee emer sma INLING BY 42
_ ERIC K, BRooks, — _ — FOR Mt

— PlointiFR,
NS, a oe “CASE £ No, 4 ev5at- = MW/MAF _

 

ss OFFECER DAMON MELLER, 2 a
i Defendant, ee f. a ee ee ee eine
pea WTTEPS PARST REQMEST FORADMESSIONS

"Pursuant to Fa Ric Civ. Pe ‘Rale 36 ‘Erick. Brooks Plaintiff, requests Bo

 

 

 

 

 

 

 

 

 

 

 

. ; J Defendant Damon Miller To a admit thes. fo| lowing: oe
(A Admit that Golf Terrace is ane block long uh: de street off Pamam St
7 a a. Adunit that on \ November 182016, GolF 7 Terrace ‘had apptoxitustely eight houses ee
ow Hheright-hand side (Faving into Golf Terrnce frova Putnam st)with 2546 GolFo
_ Terrace being the last house onthe right ee
_ gg, Adurit 3 that y you u falsely s stated | dion on the § Peabable Cause ¥ FEY Javit, Betes #5l- ee
ee 34, hat youl arrested Mr. Brooks at 250% Go \WFTerrace,
sh Admit shark you wrote ancl corFified the Probable Coase Affidavit at 4:24 pum
_ a on November 12. ae “tpeneelt 63. minutes aFter- artesting. Mr, Brooks. oe
_ _ ddinissions 5-13 « are » based on the | the Florida Uniform TracF Fic. Citation, Bates#55,
7 ‘Chenceforth," Furce ") whish | is numbered I6- 87025 antfor AZOLBLE: ee
: 7 ss, “Adee + that you weate, oy FUTC. on 1. November. 4a, 2016 jats 3:50 ? pen, peo OC
oe a mel 3Z minutes after seresting MpBroks 2

 

 
Case 4:19-cv-00524-MW-MAF Document 36 Filed 06/01/20 Page 12 of 19

6, Ment that a FUTC mast be written for criminal traffic violoctions,
7. Advat that yeu wrote the FUTG te someone other than Eric K,, Brooks:

8, Admit thet you included Eric. K, Brooks” home address ond date of birth
‘on the FUTC.,

4. Admit that you incorporated the port al personal and for Driver's License
information of an Eric C. Brooks, also a resident oF Tallahassee, into the FUTC.

10. Admit thot you Falsely certified that you delivered the FUTC to Plaintiff
Eric K. Bracks,

af. Adeit shot trving ithe avalid license requires e court appearance becawse

’ a , . °
(fTise criminal viele; ton,

4a. Admit that you Falsely swore thst Plaintiff Erie RK, Brooks had Florida

Driver's License # B620AL1732820 on the Arrest /Proboble Couse AFFidewi t,
Bates # 64-54.

413, Adeut that you used the FUTS asa pretext to conceal your false arrest
oF Plaintiff Erie K. Brooks. on November £2 , 2016,

44. Admit rhat Plaintiff Epic K. Brooks was held in the Leon County Jail on
the charges stemming From the arrest in Admission 13 for 344 days.

Proposed by Eric K, Brooks, Plaintif¥ April 27,2020
Wks Be Keo

CERTERCCATE OF SERVICE
T HEREBY CERTEFLCATE thet T. have provided « copy oF Plaintiff’

Fi est Request For Admissfont to Defendants Counsel Hannah P. Monroe 300 S,
Adons St Box AS ,Tallnhass ce, Flariday 32304, by providing it to prison mai|
oT elale For prepaid Firstelass US mol on this 27% doy of April, 2020,

 
 
     

Lh yous

 

Eric K, Brooks plaintitt /# 582.484 Ter /3450 Tiger Boy Road /D ytone. Besch) Fl 3262M
Case 4:19-cv-00524-MW-MAF Document 36 . Filed 06/01/20 Page 13 of 19

Append ix B

¥ PlowntifFs Objections +0 Defendants Answers
to Tuterre ggtDries |
K Objections to Defendants Fics} Produerion ot Do cuments
_ Case 4:19-cv-00524-MW-MAF Document 36 Filed 06/01/20 Page 14 of 19

_UNTTED STATES DISTRECT COURT
NORTHERN DESTRICT OF FLOREDA rower 10 TOMOKA_
TALLAHASSEE fREVISION __.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| S.zatermyptey Not: Objection; narr-Fesponsiverte the question asked,

 

 

- ; a. Inter tonatory 1 No. 2: Objection; non~ responsivesto thequection asked, Mes ler

—  BS16 Golf Terrace,’ ' Farther, Mr, Brooks obj ve ets to Allen's canting er ee
admitted ty driving without a vali d Tieense.® BS ee

ein etme aad

Filed to Say uthere he First seu) plainh Ff before heallegedly’ ‘Poll awed Me: Bryoks fo

ee

8. Tncherros ator Noy 4: Objection; snan-responsiVer, Defendant was WAS GAS sked why _

he asked who was driving the black. KIA, not when he asked it,

 

PlaintiFE Eric K, Brooks hereby enters his shjection to Defendant's -
_ Answers Ts Enterrogatories - ee

 

. - J 5, Intercogaitary 7 1 Objection; ; non-responsive te uestion, Defendant w was 7 ;
__ asked, why he. warted beFare tng contact with Brooks

 

_ Pleinkiff, ;
L CASE.No,: 42 tqeu524 ~MW/MAF
MS:
(OFFICER DAMON MILLER, oo
! Defendant, Ye
_ PLAINTIFFS OBJECTIONS TO /
_ __ DEFENDANT'S ANSWERS TO INTERROGATORIES

7 4, . Tnterragatory N No, G: Objection, Deferdent inserted words “ee ves Were” ” who - -
original inferrogstory, _ oe

 

 

 

 

 

 
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b Interre atory No, %: Objection. Defendant changed “any "fo "and otter ng
the meaning of the interro Tory. Also, now responsive To the question asked

Detendanitailed to explain why he asked Bracks for his license.

7, Interro utory No. 10; Objection. Defendant chanced: B rooks when” to” Brooks?
when | altering the meaning oF thy inleryo atory. Te alle od consensual
nature of the‘ encounter 18 a moterial fate in dispute,

8. Objection j He oath used by Defendant is legally insufficienh Resubmit
beFendants Answers To Inbereogatories using the stendand oath below!

 

‘Under penalty of perjury XL swoar that the Foregsing answers ave True and

correct;

 

ee “dele
Damon Miller, DeSendant County of .

Shite of
Befro me, rhe undersigned authority, personal appeared AFFicer Damon Miller,
‘who being First duly sworn jsays that he has read the ebove and foregoing answers to
inkertogatories and the same aretrue and comp lebe, Swatn to and subscrihed

before werthis.—.day oF, R029,
: , NoFary Signecture,

Print, ty pe oF stamp name oF nolary ; Type FF ident iGction:
personally Kuowh
i produced ident Fieshon

 

 

 

Prepared by Eric KeBrooks Plaintiff Aprilt7, 2020
Lee Zi, Bact __.

CERTLFELCATE oF SERVICE
LC HEREBY CERTIFY that LT have provided acepyoF Plaintiffs First Request for
Admissians to Defendants counsel: Hawnal D. Monroe 3399 S, Adowas St, Box A-5 Talla
- hassen, FL, 32301, by fpravidi nm it te prison mail oFFiciols for prepaid Firskolas
US ereil on this aT? das oF April, 2020. Eng K. Brooks |
2 Eric K, Broo ) plal nif
BRLLSL TEL /BHS0 Teyer Poy Rb [bn tom Beach FL-3a424

 

 

 

 
/ a Production oF Documents, received on Ape al. yRO20; CO
| & The , audio recording of of the arrest MAVRICH 1007: ad,

__ Plaintiff, Defendants Counsel was notified t by letter of the illegal seizure oF +hese
tems by FDOG emploveo Cassandra Adams on April al, 2020, ait Adans! notification
of Plaintiff +iEE that she illegally di sposed of Hrese documentss P| aintiff asks bofend-
__rant’s Counsel to remnail the items | in dispube or in the alternative to wnko dupli-
reales and furnish +themto Plaintiff if Counsel thas not recai ‘ved them vt VId return |
wail by April 20, ALORO y

OFFICER DAMON MILLER,

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UNITED STATES DISTRICT courr

NORTHERN DrsTRICT OF FLOALOA

TALLAHASSEE DIVISION PROVIDED vO TONKA

 

 
 

RREC K BRON, FORM MALIN BY.( sab

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Defendant _ fs

 

 

 

 

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__ FIRST pRobUCTION oF DOCUMENTS a _

- Plain F “Eri K K. Brooks he hereby enters | his Ob bjections Ta | Defendants First

 

 

“ Obfecction: Te date, Bates7#49-50 have not been received or reviewed by

Additional ly, Plaine asks Defendants Counsel t asree tow stipu ited

7 G0- day enlargement oF discovery solely concerning the legality of Plante
abil iy th stlre these recordin ings and ong fulure, Wiaitel 9 Documents untihecan

 

 

 

 

 

; _ 7 - | make, arrangements theroush 1CL adwanistraction to review hem; the delay oe
| being caus by shothme requirements of the inmate grigvance, system fo ct
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Case 4:19-cv-00524-MW-MAF Document 36 Filed 06/01/20 Page 17 of 19

9. OF Ficer Damon Miller use of force record,

Ob ect ions The below-lisied uses of Force involving Defendant Miller omit
the summary detah ng Millers actions therein ,an d for refer to Supplemental
reports which are not included In the documents produced '

A, Case No.0916020365 Bates #201-2.44 5

B, Case No.00160311.06 ) BatesHAlt-2417;

C, Case,No. 0046027327 ) Bates#HAL9-2as.

Please prov ide the, “never reports and Summaries ty complete this

request for product ton documents.

41. Any other oFTicer reports Filed that were part of the above incident,

| Objection, non-responsive, To the Full scope of the cequest: Plaintiff nates
the presence. of several other TPD of fi cers at the scene oF his arrest on Nov.
49, A046, and "Oke..Wirght “(sic -Wrig b+) who is tdentified im both the TPD
Cnet dent Report, Bodes aay f and Arréct/Probable Cause AfFid evil Bates #52 )
as heving field- tested the coca ne allegedly YakenFram Mp, Brooks,

: Pledle use due diligenceto determine He existence oF other documents
responsive to Request r Production No. 4. ond produce thom forthwith.

Served by Evie K. Brooks pplaanh ++ date ;April AT) 2020

CERTLFELCATE OF S€RvIicE-

T HEREBY CERTLEY that L hove provided a copy oF Plainti¥hs Objecc
x tions te Defendants Fit Production scuments ts DeFendaits Counsel
‘Homneh D.Monroe, 300 S, Adams St. Box A-S, Tollahassee., FL 32301, by
Furnishing ht pi ison mol officials For prepaid Flest-class US mail on this
AT? day oF April, 200.
| Laws Fe AEA

Ene K. Brooks ; plaint FF
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Daytonn Beach FL 324.24

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